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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

AMANDA PIZANA,                 §
                               §
          Plaintiff,           §
                               §
v.                             §                 CIVIL ACTION NO. 3:20-cv-3723
                               §
DUSTIN “KROSS” KRAMMERER,      §
CUMULUS MEDIA, INC., and       §
SUSQUEHANNA RADIO, LLC f/k/a   §
SUSQUEHANNA RADIO CORPORATION, §
                               §
          Defendants.          §

               APPENDIX TO DEFENDANTS’ NOTICE OF REMOVAL

             NOW COMES Defendants Dustin “Kross” Krammerer, Cumulus Media, Inc. and
Susquehanna Radio, LLC f/k/a Susquehanna Radio Corporation (“Defendants”), and file this
Appendix of Exhibits to Defendants’ Notice of Removal, as follows:

        EXHIBIT                                               DOCUMENT
          A                                       State Court Documents




                                                                               45407213.1




APPENDIX TO DEFENDANTS’ NOTICE OF REMOVAL                                         Page 1
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                  EXHIBIT

                                A
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                                APP 5
                                                                                                              FILED
                                                                                                 11/24/2020 5:15 PM
                                                                                                     FELICIA PITRE
     Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20               Page 8 of 40    PageID 15     DISTRICT CLERK
                                                                                                DALLAS CO., TEXAS
                                                                                        JAVIER HERNANDEZ DEPUTY
                                            DC-20-17562
                                       NO. ________________

AMANDA PIZANA                                     §   IN THE DISTRICT COURT
Plaintiff,                                        §
                                                  §
V.                                                §   ____ JUDICIAL DISTRICT
                                                  §
                                                  §
DUSTIN “KROSS” KRAMMERER,                         §
CUMULUS MEDIA, INC. AND                           §
SUSQUEHANNA RADIO, LLC F/K/A                      §
SUSQUEHANNA RADIO CORPORATION                     §
Defendants.                                       §   OF DALLAS COUNTY, TEXAS

                                 PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Amanda Pizana, hereinafter called Plaintiff, complaining of and about

Dustin “Kross” Krammerer (“Dustin”), Cumulus Media, Inc. and Susquehanna Radio, LLC F/K/A

Susquehanna Radio Corporation (collectively referred to as “Defendants”), and for cause of action

shows unto the Court the following:

                            DISCOVERY CONTROL PLAN LEVEL

        1.     Plaintiff intends that discovery be conducted under Discovery Level 2.

                                      PARTIES AND SERVICE

        2.     Plaintiff, Amanda Pizana, is an Individual whose address is 4540 Winkler Ave., Apt.

301, Fort. Myers, FL 33966. The last three numbers of Amanda Pizana's driver's license number are

249. The last three numbers of Amanda Pizana's social security number are 889.

        3.     Defendant, Dustin “Kross” Krammerer, an Individual who is a resident of Texas, is

the Program Director of Cumulus Media, Inc., a Foreign For-Profit Corporation, and may be served

with process at his place of employment at the following address: West Victory Plaza, 3090 Olive

Street, Ste. 400, Dallas, TX 75219 or wherever he may be found. Service of said Defendant can be

effected by personal delivery.

        4.     Defendant, Cumulus Media, Inc., a Foreign For-Profit Corporation, and may be



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served with process through their registered agent, CT Corporation System, at the following address:

1999 Bryan St., Ste. 900, Dallas, TX 75201. Service of said Defendant as described above can be

effected by certified mail with a return receipt requested.

        5.      Defendant, Susquehanna Radio, LLC, F/K/A Susquehanna Radio Corporation, is a

limited liability company, and may be served with process through their registered agent, CT

Corporation System, at the following address: 1999 Bryan St., Ste. 900, Dallas, TX 75201. Service of

said Defendant as described above can be effected by certified mail with a return receipt requested.

                                   JURISDICTION AND VENUE

        6.      The subject matter in controversy is within the jurisdictional limits of this court.

        7.      Pursuant to Rule 47, the amount sought in this case is monetary relief over $100,000

but not more than $200,000.

        8.      This court has jurisdiction over the parties because Defendant, Dustin Krammerer is a

Texas resident. Additionally, Defendant, Cumulus Media, Inc. and Defendant, Susquehanna Radio,

LLC, F/K/A Susquehanna Radio Corporation are both businesses operating and located in Texas.

        9.      Venue in Dallas County is proper in this cause under Section 15.002(a)(1) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions

giving rise to this lawsuit occurred in this county.

                                        NATURE OF ACTION

        10.     This is an action under Chapter 21 of the Texas Labor Code, Section 21.001 et. seq.

Texas Labor Code, as amended, to correct unlawful employment practices on the basis of sex.

                                    CONDITIONS PRECEDENT

        11.     More than 180 days prior to the institution of this lawsuit, Plaintiff filed a charge with

the Texas Workforce Commission, Civil Rights Division, alleging violations of Chapter 21

Employment Discrimination of the Texas Labor Code. A notice of the right to file a civil action has

been issued by the Texas Workforce Commission, Civil Rights Division on or about August 26,



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2020. All conditions precedent to the institution of this lawsuit have been fulfilled. This suit is filed

within 90 days after the date a notice of the right to file a civil action was received by Plaintiff and is

brought within two years of the date the complaint relating to the action was filed. A copy of the

Plaintiff’s EEOC Notice of Right to Sue is attached hereto Exhibit 1 and incorporated herein by

reference.

                                                 FACTS

        12.     On or about May of 2015, Plaintiff was hired as a part-time On-Air Personality at

Cumulus Media, Inc., where she served as an exemplary employee.

        13.     On February 26, 2016, Plaintiff, Defendant, Dustin “Kross” Krammerer (hereinafter

referred to as “Dustin”) and Josh Carmona, an On-Air Personality employed at Cumulus Media, Inc.

went to a Dallas Maverick Basketball game as part of a work function.

        14.     Throughout the game, Dustin was continually buying Plaintiff drinks. Based on

Dustin's subsequent actions, the entire purpose for Dustin buying Plaintiff drinks was to try to get her

inebriated so that he could take advantage of Plaintiff sexually. Later on, Dustin walked up behind

Plaintiff and pressed his genitals against the back of Plaintiffs body. Plaintiff turned around in anger

and indignantly asked Dustin what he was doing; Dustin laughed and walked away.

        15.     Later that night at the game, Dustin told Plaintiff to sit next to him. Although Plaintiff

was uncomfortable sitting next to him based on his previous behavior at the game, she was afraid that

saying no would impact her job, so she followed his order. Dustin immediately began interrogating

Plaintiff about her dating relationships outside of work. Plaintiff did not feel comfortable discussing

her dating relationships with her supervisor and became very upset. Dustin then began making

comments to Vicki Ochoa, who was an employee of Cumulus Media, Inc. and began to discuss the

size of his penis.

        16.     After Plaintiff declined his sexual advances and unwanted sexual touches, Dustin

started his goal of punishing the Plaintiff by berating and criticizing her work performance. Although



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nothing had changed in Plaintiff’s performance, Dustin's attitude against her had taken a dramatic

turn and Dustin was clearly upset at Plaintiff because she rejected his sexual advances.

        17.     After constant new and false criticism by Dustin, Plaintiff complained to her Human

Resources Department of the events that occurred on February 26, 2016 and the constant harassment

by Dustin in hopes of being assigned a new supervisor, or for Dustin to be disciplined for his

inappropriate behavior; however, nothing was resolved, and Dustin was allowed to continue to

supervise Plaintiff and harass her. Allison Barnes, the Director of Human Resources, stated that she

would conduct an investigation. Ms. Barnes stated that they had a stern meeting with Dustin and that

it will not happen again. Human Resources blamed Dustin's behavior on the alcohol. Unfortunately,

the investigation was not effective considering shortly after Ms. Barnes stated she would conduct an

investigation, Dustin sent Plaintiff a text message that was not related to work. The text message

read, "I was sitting on my patio and a car drove by, I heard your voice and wanted to text you to let

you know this.".

        18.     Although Plaintiff thought that Human Resources would be her shield, the company

allowed Dustin to use them as a sword to attack the Plaintiff. After Plaintiff’s complaint to Human

Resources, Dustin began retaliating against Plaintiff by constantly criticizing Plaintiff’s work

performance to insinuate that Plaintiff was not able to perform her job properly, and writing Plaintiff

up for being late to work and missing work when Plaintiff had a valid reason for her tardiness or

absence and had never received complaints before she reported Dustin.

        19.     On Sunday, April 10, 2016, Plaintiff was scheduled to be on air at 3:00 PM; however,

Plaintiff broke her heel bone causing her to arrive a little after 3:00 PM. Dustin wrote Plaintiff up for

being late to work, he stated that she was scheduled to be at work at 2:30 PM when Plaintiff had no

email stating that her airtime had changed. Even with Plaintiff’s foot injury, Plaintiff went to work

and did not leave work on Sunday until she had permission from Dustin to seek medical attention.

        20.     On Sunday, April 10, 2016, after receiving permission from Dustin, Plaintiff went to



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consult with her orthopedic about the foot injury that she had sustained. Plaintiff informed Dustin

that her orthopedic had provided her with a work release form and the date that she was scheduled to

be at work was Wednesday, April 13, 2016. Plaintiff informed Dustin that the doctor had prescribed

her codeine and she could not drive, but that she would return to work sooner if she was able to. On

Wednesday, April 13, 2016, Plaintiff was written up by Dustin for missing work on Monday and

Tuesday even though she had sent him a copy of the doctor's note stating that she was not allowed to

work on those days. Please see Exhibit 2.

        21.     On May 11, 2017, approximately one month after Plaintiff's complaint to Human

Resources, Dustin sent an email to Plaintiff complaining of a seven second talk break that Plaintiff

did after the song rather than before the song as scheduled. Plaintiff did this to allow more time for

her to sell the new music coming up. In addition, Dustin criticized Plaintiffs introduction to her

breaks, specifically stating “Be careful of your crutch ‘Hey what's up? It's your girl lil brownie’. You

say it on every break and in all your endorsements. Find other ways to open your breaks introducing

yourself. . .” Please see Exhibit 3.

        22.     On July 20, 2016, Dustin sent an email to Plaintiff requesting to sit down for an

aircheck. Please see Exhibit 4. Plaintiff was suspicious of Dustin's reasoning for the aircheck

considering Plaintiff was the only employee at Cumulus Media, Inc. who was subjected to an

aircheck. Plaintiff believes Dustin scheduled the aircheck in an attempt to harass and retaliate against

Plaintiff for her complaints to Human Resources.

                                       SEX DISCRIMINATION

        23.     Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally

engaged in unlawful employment practices involving Plaintiff because she is a female.

        24.     Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally



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discriminated against Plaintiff in connection with the compensation, terms, conditions and privileges

of employment or limited, segregated or classified Plaintiff in a manner that would deprive or tend to

deprive her of any employment opportunity or adversely affect her status because of Plaintiff's sex in

violation of the Texas Labor Code.

          25.   Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally

classified Plaintiff in a manner that deprived her of an equal employment opportunity that was

provided to male employees similarly situated in violation of the Texas Labor Code.

          26.   Plaintiff alleges that Defendant, Susquehanna Radio, LLC, by and through

Defendant’s agents, Defendant, Cumulus Media, Inc., by and through Defendant’s agents and

Defendant, Dustin, harassed the Plaintiff on the basis of sex with malice or with reckless indifference

to the state-protected rights of Plaintiff as a result of her sexual harassment claim filed against

Dustin.

                                     SEXUAL HARASSMENT

          27.   Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally

engaged in unlawful employment practices involving Plaintiff because she is a female.

          28.   Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally

discriminated against Plaintiff in connection with the compensation, terms, conditions and privileges

of employment or limited, segregated or classified Plaintiff in a manner that would deprive or tend to

deprive her of any employment opportunity or adversely affect her status because of Plaintiffs sex in

violation of the Texas Labor Code.

          29.   Defendant, Susquehanna Radio, LLC, by and through Defendant’s agents, Defendant,

Cumulus Media, Inc., by and through Defendant’s agents and Defendant, Dustin, intentionally



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classified Plaintiff in a manner that deprived her of an equal employment opportunity that was

provided to male employees similarly situated in violation of the Texas Labor Code.

        30.        Defendant, Dustin, sexually harassed Plaintiff, as described above, in violation of her

rights under the Texas Labor Code Section 21.051. Defendants knew or should have known of the

harassment yet failed to take prompt remedial action.

        31.        Plaintiff alleges that Defendant, Dustin, sexually harassed Plaintiff on the basis of sex

with malice or with reckless indifference to the state-protected rights of Plaintiff.

                                              RETALIATION

        32.        Plaintiff alleges that Defendant, Susquehanna Radio, LLC, by and through

Defendant’s agents and Defendant, Cumulus Media, Inc., by and through Defendant’s agents,

instituted a campaign of retaliation which included continued harassment from a supervisor

including, but not limited to, shift changes and unsupported write-ups from Defendant, Dustin. This

retaliation was due to the Plaintiff exercising her rights and filing a complaint with the Human

Resources Department against Defendant, Dustin, for his unlawful discriminatory practices and

sexual advances towards the Plaintiff. Plaintiff suffered damages for which Plaintiff herein sues.

                          RESPONDEAT SUPERIOR AND RATIFICATION

        33.        Whenever in this petition it is alleged that the Defendant, Susquehanna Radio, LLC,

and/or Defendant, Cumulus Media, Inc. did any act or thing, it is meant that the Defendant's officers,

agents, servants, employees or representatives did such act and/or that at that time such act was done,

it was done with the full authorization or ratification of the Defendant or was done in the normal and

routine course and scope of employment of Defendant's officers, agents, servants, employees, or

representatives.

                                    CONSTRUCTIVE DISCHARGE

        34.        Defendants made the working conditions so intolerable that Plaintiff felt




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compelled to resign her position. A reasonable person in the same position would have also felt

compelled to resign. Plaintiff suffered damages for which Plaintiff herein sues.

                                             DAMAGES

       35.     Plaintiff sustained the following damages as a result of the actions and/or omissions

of Defendants described hereinabove:

               a.      Monetary damages in the amount of $200,000.00;

               b.      All reasonable and necessary Attorney's fees incurred by or on behalf of
                       Plaintiff, including all fees necessary in the event of an appeal of this cause to
                       the Court of Appeals and the Supreme Court of Texas, as the Court deems
                       equitable and just as provided by the Texas Labor Code Section 21.259;

               c.      All reasonable and necessary costs incurred in pursuit of this suit;

               d.      Loss of earnings in the past; and

               e.      Pre and Post judgment interest

                                    EXEMPLARY DAMAGES

       36.     Plaintiff would further show that the acts and omissions of Defendants complained of

herein were committed with malice or reckless indifference to the state-protected rights of the

Plaintiff. In order to punish said Defendants for engaging in unlawful business practices and to deter

such actions and/or omissions in the future, Plaintiff also seeks recovery from Defendants for

exemplary damages as provided by Section 21.2585 of the Texas Labor Code.

                                        SPECIFIC RELIEF

       37.     Additionally, Plaintiff seeks the following specific relief which arises out of the

actions and/or omissions of Defendants described hereinabove:

               a.      Companywide training for all Supervisors and Managers covering Sexual
                       Harassment and Anti-Discriminatory Policies and Procedures.

               b.      Prohibit by injunction the Defendants from engaging in unlawful employment
                       practices as defined in the Texas labor Code.

                                              PRAYER




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        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Amanda Pizana, respectfully prays

that the Defendants be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiff against Defendants for damages in an amount within the

jurisdictional limits of the Court; exemplary damages, excluding interest, and as allowed by Section

21.2585 of the Texas Labor Code, together with pre-judgment interest at the maximum rate allowed

by law; post-judgment interest at the legal rate, costs of court; and such other and further relief to

which the Plaintiff may be entitled at law or in equity.

                                                Respectfully submitted,

                                                THE FULTON STRAHAN LAW GROUP, PLLC


                                                ___/s/ Kevin Fulton               _
                                                Kevin Fulton, SBN: 24059787
                                                Adrianna Higginbotham, SBN: 24101912
                                                A. Strahan, SBN:24081940
                                                Josh Mathews, SBN: 24109519
                                                Hon. Briscoe Cain, SBN: 24073602
                                                7676 Hillmont St, Suite 191
                                                Houston, Texas 77040
                                                (713) 589- 6964 Office
                                                (832) 201- 8847 Fax
                                                ATTORNEYS FOR PLAINTIFF
                                                AMANDA PIZANA




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                    Exhibit 1 to Plaintiff's
                                   APP 15    Original Petition         Page 1 of 1
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               Exhibit 2 to Plaintiff'sAPP    16Petition
                                        Original
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                    Exhibit 3 to Plaintiff's Original Petition
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                   Exhibit 4 to Plaintiff's Original Petition               Page 1 of 3
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                      Exhibit 4 to Plaintiff's Original Petition
                                                                              Page 2 of 3

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                     Exhibit 4 to Plaintiff's Original Petition
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    1   CIT—   ESERVE
                          Case 3:20-cv-03723-B CIVIL
                                               Document 1-1 Filed 12/28/20
                                                     PROCESS                Page 25 of 40 PageID 32
                                                                         FORM
2   CIT- CERT MAIL                                                                                 REQUEST
                                   FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                                  FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED
                                     DC-20-1 7562
          CASE NUMBER:                                         C URRENT COURT:                                 District Court
          TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types): PLAINTIFF’S ORIGINAL PETITION

          FILE DATE 0F PETITION:                    l 1/24/2020
                                                  Month/Day/Year
          SERVICE TO BE ISSUED 0N (Please List Exactly As The Name Appears In The Pleading To Be Served):
          1.   NAME:        DUSTIN “KROSS” KRAMMERER
               ADDRESS: West Victorv Plaza. 3090 Olive Street. Ste. 400. Da_llas.                                        TX     75219 0r wherever he mav be
          M
               AGENT, (ifapplicable):         M
          TYPE OF SERVICE/PROCESS TO BE ISSUED (see reversefor specific type):
             SERVICE BY (check one):
                D ATTORNEY PICK-UP                         D CONSTABLE
                      g
                   CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                                         Phone:
                D MAIL                                     D CERTIFIED MAIL
                      D    PUBLICATION:
                              Type of Publication:             D     COURTHOUSE DOOR, or
                                                               D     NEWSPAPER OF YOUR CHOICE:
                      g    OTHER, explain Please email the citation to my Paralegal, Chelsea Peterson at chelsea@fultonstrahan.com

          2.   NAME:        SUSOUEHANNA RADIO, LLC
               ADDRESS: 1999 Bryan Street, Suite 900, Dallas. Texas 75201-3136

               AGENT,       (ifapplicable):   CT Corporation System
          TYPE OF SERVICE/PROCESS TO BE ISSUED (see reversefor specific type):
             SERVICE BY (check one):
                D ATTORNEY PICK-UP                         D CONSTABLE
                D CIVIL PROCESS SERVER Authorized Person to Pick-up:
                                         -                                     Phone:                                           _
                D MAIL                                     g CERTIFIED MAIL
                      D    PUBLICATION:
                              Type of Publication:             D     COURTHOUSE DOOR, or
                                                               D     NEWSPAPER OF YOUR CHOICE:
                      D    OTHER, explain

          3.   NAME:        CUMULUS MEDIA. INC.
               ADDRESS: 1999 Brvan Street. Suite 900. Da_llas. Tegas 75201-3136

               AGENT,       (zfapplwable):    CT Corporation Svstem
          TYPE OF SERVICE/PROCESS TO BE ISSUED (see reversefor specific type):
             SERVICE BY (check one):
                D ATTORNEY PICK-UP                         D CONSTABLE
                D CIVIL PROCESS SERVER - Authorized Person to Pick-up:         Phone: _
                D MAIL                                     X CERTIFIED MAIL
                      D    PUBLICATION:
                              Type of Publication:             D     COURTHOUSE DOOR, or
                                                               D     NEWSPAPER 0F YOUR CHOICE:
                      D    OTHER, explain
                                                                                                        of 2
                                                                                          APP 23
                                                                                            Page   1
          S:\FormsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintake\Civi1 Process Request Form                                                 Rev. 5/7/10
               Case 3:20-cv-03723-B Document 1-1 Effective
                                      ATTENTION:  Filed 12/28/20
                                                           Junel, 2010
                                                                       Page 26 of 40 PageID 33

     For all Services Provided by the DISTRCT CLERKS OFFICE requiring our ofce to MAIL something back to the
  Requesting Party, we require that the Requesting Party provide a Self-Addressed Stamped Envelope with sufcient postage
                                                 for mail back. Thanks you,
**********************************************************************************************************




ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: Kevin Fulton TEXAS BAR NO./ID NO. 24059787
MAILING ADDRESS: 7676 Hillmont Street, Suite 191, Houston, Texas 77040
PHONE NUMBER: 713.589.6964                        FAX NUMBER:            832.201.8847

EMAIL ADDRESS: kevin@fultonstrahan.com

     SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO
     CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
     SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.

 INSTRUMENTS TO BE SERVED:                                                                           PROCESS TYPES:
 (Fill In Instrument Sequence Number,          i.e. lst, 2nd, etc.)
                                                                                                     NON WRIT:
 _X_              ORIGINAL PETITION                                                                  CITATION
                                                                                                     ALIAS CITATION
               SUPPLEMENTAL PETITION
                                                                                                     PLURIES CITATION
                                                                                                     SECRETARY OF STATE CITATION
 COUNTERCLAIM                                                                                        COMMISSIONER OF INSURANCE
       AMENDED COUNTERCLAIM                                                                          HIGHWAY COMMISSIONER
       SUPPLEMENTAL COUNTERCLAIM                                                                     CITATION BY PUBLICATION
                                                                                                     NOTICE
                                                                                                     SHORT FORM NOTICE
 CRO S S-ACTION:
               AMENDED CROSS-ACTION                                                                  PRECEPT (SHOW CAUSE)
               SUPPLEMENTAL CROSS—ACTION                                                             RULE 106 SERVICE

 THIRD—PARTY PETITION:                                                                               SUBPOENA
       AMENDED THIRD—PARTY PETITION
        SUPPLEMENTAL THIRD-PARTY PETITION                                                            WRITs:
                                                                                                     ATTACHMENT (PROPERTY)
 INTERVENTION:                                                                                       ATACHMENT (WITNESS)
        AMENDED INTERVENTION                                                                         ATTACHMENT (PERSON)
        SUPPLEMENTAL INTERVENTION

 INTERPLEADER                                                                                        CERTIORARI
        AMENDED INTERPLEADER
        SUPPLEMENTAL INTERPLEADER                                                                    EXECUTION
                                                                                                     EXECUTION AND ORDER OF SALE

 _ PLAINTIFF SEEKS IMMEDIATE HEARING 0N WRIT 0F MANDAMUS SEEKING                                     GARNISHMENT BEFORE JUDGMENT
 SPECIFIC PERFORMANCE.
 _ INIUNCTION                                                                                        GARNISHMENT AFTER JUDGMENT
 MOTION TO MODIFY
 SHOW CAUSE ORDER                                                                                    HABEAS CORPUS
 _   TEMPORARY RESTRAINING ORDER                                                                     INJUNCTION
                                                                                                     TEMPORARY RESTRAINING ORDER

                                                                                                     PROTECTIVE ORDER (FAMILY CODE)
                                                                                                     PROTECTIVE ORDER (CIVIL CODE)

 BILL OF DISCOVERY:
                                                                                              of 2
                                                                                APP 24
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S:\FormsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintake\Civil Process Request Form                                  Rev. 5/7/10
               Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                     Page 27 of 40 (PERSON)
                                                                                                      POSSESSION    PageID 34
       ORDER TO:
                                             (specify)                                                POSSESSION (PROPERTY)
       MOTION TO:
                                             (Specify)
                                                                                                      SCIRE FACIAS
                                                                                                      SEQUESTRATION
                                                                                                      SUPERSEDEAS




                                                                                             of 2
                                                                               APP 25
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     2 CIT




Kevin Fulton
             CERT MAIL




Founding Partner
                    Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20



                                                       Fulton
                                                           Law G
                                                                    A
                                                                Strahan
                                                                                Page 28 of 40 PageID 35




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                                                                     November 30, 2020
                                                                                                                            FILED
                                                                                                               11/30/2020 11:30 AM
                                                                                                                     FELICIA PITRE
                                                                                                                   DISTRICT CLERK
                                                                                                                DALLAS CO., TEXAS
                                                                                                         Belinda Hernandez DEPUTY




                                         298th District Court
kevin@Jltonstrahan.com
° AWO
         Rating-Superb                   ATTN: Clerk of the Court
n
  H-Texas Mag 2014-19 Top Lawyer
n
  Texas Monthly-Top Young Lawyers 2017   Re:         Amanda Pizana vs. Dustin "Kross" Krammerer, et a1.
° Rated
        by Super Lawyers—Rising Star                 Case N0. DC-20-17562
                                                     Envelope Number: 48408620
Keith Strahan
Managing Partner                         Dear Clerk of the Court,
keith@11tonstrahan.com
                                                 Please issue two certied mail citation to be served on Defendants,
Hon. Briscoe Cain                        Cumulus Media, Inc. and Susquehanna Radio, LLC F/K/A Susquehanna Radio
Senior Counsel                           Corporation with regard to the above reference envelope number. Per the
briscoe@fultonstrahan.com                court’s request, I am including payment in the amount of $16.00 to cover the
°   Houstonia 2016 Top Lawyer            issuance fees that were not included in the original ling.

A’drianna Higginbotham                          Thank you for your assistance with this matter. If you have any
Associate Attorney
                                         questions or concerns, please do not hesitate to contact me at 713.589.6964.
ahigginbotham@fultonstrahan.com
o
    H-Texas Mag 2018 Top Lawyer
                                                                           Sincerely,

Josh Mathews
Associate Attorney                                                         Chelsea Peterson
josh@fultonstrahan.com                                                     Senior Paralegal


7676 Hillmont St, Ste 191
Houston, Texas 77040
(Principal Ofce)
tel: 713.589.6964
fax: 832.201.8847
web: FultonStrahan.com




                                                           APP 26
                        Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                 Page 29 of 40 PageID 36



FORM N0. 353-3 - CITATION                                                                                                             ESERVE
THE STATE OF TEXAS                                                                                                                 CITATION
To:
        DUSTIN "KROSS" KRAMMERER
        WEST VICTORY PLAZA                                                                                                         DC-20—l7562
        3090 OLIVE STREET, STE. 400
        DALLAS, TX 75219
                                                                                                                                   AMANDA PIZANA
GREETINGS:                                                                                                                               vs.
You have been sued. You may employ an attorney. If you or your attorney do not le a written                             DUSTIN "KROSS" KRAMMERER, et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 298th District Court at 600                                 ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                             3rd day of December, 2020

Said Plaintiff being AMANDA PIZANA
                                                                                                                               FELICIA PITRE
Filed in said Court 24th day of November, 2020 against                                                                       Clerk Distiict Courts,
                                                                                                                             Dallas County, Texas
DUSTIN "KROSS" KRAMMERER; CUMULUS MEDIA, INC.; AND SUSQUEHANNA RADIO,
LLC F/K/A SUSQUEHANNA RADIO CORPORATION
                                                                                                                     By: IRASEMA SUTHERLAND, Deputy
For Suit, said suit being numbered DC-20—17562, the nature of which demand is as follows:
Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If
this citation is not served, it shall be returned unexecuted.                                                                Attorney for Plaintiff
                                                                                                                                KEVIN H FULTON
WITNESS: FELICM PITRE, Clerk of the District Courts of Dallas, County Texas.                                                   2855 MANGUM RD
Given under my hand and the Seal of said Court at ofce this 3rd day of December, 2020.                                             SUITE 4 l 3
                                                                                                                              HOUSTON TX 77092
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                      281-8 17-5464
                                                                                                                           kfult0n@fultonlawofce.com
                          By            \édmgm                       ,Deputy
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                                                                                                                             DALLAS COUNTY
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                                                                  APP 27
                                Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                    Page 30 of 40 PageID 37




                                                                                OFFICER'S RETURN
Case No.   :   DC-20-17562

Court No.298th District Court

Style:   AMANDA PIZANA
vs.

DUSTIN "KROSS" KRAMMERER et al
Came to hand on the                            day of                           ,   20             ,   at                 o'clock          .M. Executed at

within the County of                                       at                       o'clock                 .M. on the                    day of

20                     ,   by delivering to the within named



each in person, a true copy     of this Citation together with the accompanying copy of this pleading, having rst endorsed on same                   date   of delivery. The distance actually traveled by
me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.

                                  For serving Citation              $

                                 For mileage                    $                                           of                        County,

                                  For Notary                    $                                           By                                                      Deputy

                                                                        (Must be veried       if served outside the State of Texas.)
Signed and sworn to by the said                                             before me this                       day of                         ,   20

to certify which witness my hand and seal       of ofce.


                                                                                                            Notary Public                                          County




                                                                                                APP 28
                                   Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                             Page 31 of 40 PageID 38



        .FORM NO.           353—3     -       CITATION                                                                                                                          CERT-MAIL
        THE STATE OF TEXAS                                                                                                                                                     CITATION
        To:                                                    .




                   SUSQUEHANNA RADIO, LLC,
                                                                                                      ‘



                   F/K/A SUSQUEHANNA RADIO CORPORATION                                                                                                                        DC—20-17562
                   SERVING REGISTERED AGENT CT CORPORATION SYSTEM
                   1999 BRYAN ST STE 900
               '

                   DALLAS TX       75201                                                                                                                                      AMANDA PIZANA
                                                                                                                                                                                       VS.

        GREETINGS.                                                                                                                                                 DUSTIN "KROSS" KRAMMERER et a1
        You have been sued. You may employ an attorney. If you or your attorney do not le a written
        answer with the clerk who issued this citation by 10 o 'clock a. m. of the Monday next following the
                                                                                        default judgment may be                                                                ISSUED THIS
        expiration of twenty days after you were served this citation and petition, a
                                                                                                                                                                       3rd day of December, 2020
,




    o
        taken against you. Your answer should be addressed to the    clerk  of the 298th District Court at 600
        Commerce Street, Ste. 101, Dallas, Texas 75202.

        Said Plaintiff being AMANDA PIZANA                                                                                                                                   FELICIA PITRE
                                                                                                                                                                           Clerk District Courts,
                                                                                                                                                                       '

                                                                                                                                                                           Dallas County, Texas
        Filed in said'Court 24th day of November, 2020 against

        DUSTIN "KROSS" KRAMIVIERER et al
                                                                                                                                                                  By: COURTNEY RUTLEDGE, Deputy
        For Suit, said suit being numbered DC-20- 17562, the nature of which demand1s as follows.
        Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation.                                                        If
        this citation is not served, it shall be returned unexecuted.            "“111.                                                                                    Attorney for Plaintiff
                                                                                      mm”[ff/f                                                                                KEVIN H FULTON
                                                                                                                                                                             2855 MANGUM RD
        WITNESS: FELICIA PITRE, Clerk ofthe District                                                  rts of Dallas, Countygf ,aS           (9%,                                 SUITE 413
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        ATTEST: FELICIA PITRE, Clrk rm                                    Dis                      u.rts ofDau                                  HESS
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                                                                                                                 APP 29
                                     Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                                        Page 32 of 40 PageID 39




                                                                                                  OFFICER'S RETURN
'Case No.: Dc-2o-17562

    Court N9.298th District Court

    Style: AMANDA PIZANA
    VS.

    DUSTIN "KROSS" KRAMMERER ct a1
    Came to hand on the                            day of
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                                                                                                   20                    at              -

                                                                                                                                                   o'clock            .M. Executed at

    within the County of                                              at                            o'clock                       .M. on the                          day of

    .20                    ,   by delivering to the within named



    each in person, a true copy    of this Citation together with the accompanying copy of this pleading, having rst endorsed on same                                              date   of delivery. The distance actually traveled byr   I




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    Signed and sworn to by the said                                                            before me this                 .
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    to certify which witness my‘hand and seal          of ofce.


                                                                                                                                  Notary Public                                                   County




                                                                                                                APP 30
                            Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                         Page 33 of 40 PageID 40



    FORM NO.           353-3 -       CITATION                                                                                         CERT-MAIL           .




    THE STATE OF TEXAS                                                                                                               CITATION     ‘



    To:
‘
            CUMULUS MEDIA, INC.,                                                                                                                      '



            SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                           Doze—17562
            1999 BRYAN ST STE 900
                                                '




            DALLAS TX        75201   .




                                                                                                                                     AMANDA PIZANA
    GREETINGS:                                                                                                                              VS.
    You have been sued. You may employ an attorney. If you or your attorney do not le a written                        DUSTIN "KROSS" KRAMMERER et a1
    answer with the clerk'who issued this citation by 10 o'clock a.m. of the Monday next following the
    expiratiOn of twenty days after you were served this citation and petition, a default judgment may be
    taken against you_ Your answer should be             to the clerk of the 298th          Court at 600                         ISSUED THIS
                                              addressed                            District                                3rd day of December, 2020
    Commerce Street, Ste. 101, Dallas, Texas 75202.

    Said Plaintiff being AMANDA PIZANA
                                                                                                                                 FELICIA PirRE"
    Filed in said- Court 24th day of November, 2020 against                                                                    ClerkDistrict Courts,
                                                                                                                               DallasCounty, Texas
    DUSTIN "KROSS" KRAMMERER et al

    For Suit, said suit. being numbered DC-20— 17562, the nature of which demand is as follows.                       By: COURTNEY RUTLEDGE, Deputy
    Suit on ENIPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If
    this citation is not served, it shall be returned unexecuted.                                   ,,
                                                                                      \wmmmp,                                  Attorney for Plaintiff
                                                                                                                  ’
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                                                                                                                                  KEVIN H FULTON
    WITNESS. FELICIA PITRE, Clerk of the District Courts of Dallas, County      Tcg                      «3&1: ’2;
                                                                                                                                 2855 MANGUM RD
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    Given under my hand and the Seal of said Cou                                      _-"202   37          I   gé
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    ATTEST: FELICIAPITRE,
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                                                                        APP 31
                             Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                             Page 34 of 40 PageID 41



                                                                         OFFICER‘S RETURN
Case No.   :   DC-20-17562

Cort   No.298th District-Court

Style: AMANDA PIZANA
vs.

DUSTIN "KROSS" KRAMMERER ct al
Came to hand on the                           day of                      20            , at                  o'clock               .M. Executed at

within the County of                                      at              o'clock              .M    on the                        day of

20                     by delivering to the within named


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each in person,'a true copy of this Citationtogether with the accompanying copy of this pleading, having rst             endorsed on same
                                                                                                                                          date     of delivery. The distance actually traveled by

me in serving such process was                 miles and my fees are as follows: To certify which witness my hand.

                                 For serving Citation

                             For mileage                                                       of                               County,
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                                 For Notary                                                    By                                                           Deputy   _




                                                                 (Must be veried    if served outside the     State   of Texas.)

                                                                     before me this                 day of                                ,   20
Signed and sworn to by the said
to certify which witness my hand and seal      of ofce.


                                                                                                Notary Public                                             County         .




                                                                                      APP 32
                                               Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                                                                                         Page 35 of 40 PageID 42



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             .FORM No; 353—3 CITATION:                      —
                                                                                                                                                                                                                                                                  gar—MAIL
                 THE STATE OF TEXAS                                                                                                                                                                                                                              CITATION
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                 To:                                    -
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                                SUSQUEHANNA RADIO, LLC,
                                                                                                                                                         I




                                                                                                                                                                                                                                                                DC—20—17562
                                F/K/A SUSQUEHANNA RADIO‘CORPORATION                                                                                                                 _




                                SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                                    '
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                                I999. BRYAN    ST STE 900                                        ;                           .
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                                DALLAS TX       75201                                                                                                                                                                                                           AMANDA PIZANA
                                                                                                                                                                                                                                                                       .   VS.
                                                                                                                                                                                                                                                      DUSTIN "KRoss" KRAMMERER et a1
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                 GREETINGS:                                          -

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                 You have been sued. You may employ an attorney. If you or your attorney do not-le a_written
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                                                                 this citation and petition, a defaultjudgment may be
                 expiration of twenty days after you were-served                                                                                                                                                                                         3rd day of December, 2020
                 taken against you. Your answer should be addressed to the clerk ofthe298th District
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                                                                                                                 at 600
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                 Commerce Street, Ste. 101, Dallas, Texas
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                 said PIamffbeing             AMANDA PIZANA                                                      ‘
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                                                                                                                                                                                                                                                             Dallas County, Texas
                 Filed in said'Court 24th day of Novernber, 2020 against

                 DUSTIN "KROSS"                WRER                                                  et al
                                                                                                                                                                                                                                                  By: COURTNEY RUTLBDGE,Depmy
                                                                                       demand is as follows:
                 For-Suit, said suit being numbered DC—20-17562, the nature of which
                 Suit on EMPLOYMENT etc. as shown on said petition, copy       a .of which accompanies this citation.                                                                                                                        If
                                                                                                                                                                                                                                                             Attorney for Plaintiff
                 this citation is not served, it shall be returned unexecuted.                   asiiiziimuml                                                                                       -                   .

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                 WITNESS: FELICIA PITRE, Clerk ofthe Dismct                its of Dallas, Couptgrgps.                     6%                                                                                                                                      SUITE 413
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                                     Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                                      Page 36 of 40 PageID 43




                                                                                                     OFFICER'S RETURN
    'Case No.     :   Dc-20-175_62
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        Court N9.298th District C_ourt

        Style: AMANDA PIZANA                                                      I
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        VS.            A

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    .   Signed and swom to by the said                                                            before me this          _:__           day of                                   , 20           ,


        to certify which'witness my-hand and seal         of oce.


                                                                                                                                        Notary Public                                                County
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                                                                                                                          APP 34
        /CasePOSTAL
              3:20-cv-03723-B
             UNITED
             I
                       STATES Document 1-1
                      SERVICE”
                                                             Filed 12/28/20   Page 37 of 40 PageID 44




    Date. Produced: 12/07/2020

    THE MAIL GROUP INC         —1   ICONFIRM DELIVERY INC:

    The following'Is the delivery information for Certified MaiITM/RRE item number 9214 8901 0661 5400
    0157 0604 03. Our records indicate that this item was delivered on 12/04/2020 at 08. 07 a. m. in AUSTIN
    TX 78744. The scanned image of the               information'Is provided below.
                                                               vs,
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    Signature of Recipient.




    Address of Recipient   :




                                    \


    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or POstaI Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.




    The customer reference information shown below'Is not validated            or endorsed by the
     United States Postal Service.        Is       for customer use.
                                        It' solely


                                          Reference ID: 92148901066154000157060403
                                          DPRO-DCZO12687-CR
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                                          CJ LOGISTICS HOLDING AMERICA CORPORATION
                                          REGISTERED AGENT CORPORATION SERVICE COMPANY
                                          LAWYERS INCO                                                         CSC
                                          211 E 7th St Ste 620
                                          Austin, TX 78701-32118
                                                           APP 35
                             Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                           Page 38 of 40 PageID 45



                                                                                                                                                CERT—MAIL.
        FORM N0. 353-3 - CITATION
        THE STATE OF TEXAS                                                                                                                     CITATION      '



        To:
    '       '
                CUMULUS 1WEDIA, INC.,                                                                                                                            l



                SERVING REGISTERED AGENT CT CORPORATION SYSTEM
                                                    '
                                                                                                                                               13020-17562
                1999 BRYAN ST STE 900
                DALLAS TX 75201         .


                                                                                                                                                     PIZANA
                                                                                                                                              AMANDA
                                                                                                                                                   vs.
        GREETINGS:
        You have been sued. You may employ an attorney. Ifyou or your attorney do not le a written                              DUSTIN "KROSS" KRAMMERER et al
        answer with the clerkwho issued this citation by 10 o 'clock a_m. ofthe Monday next following the
                                                                                    a                       be
        expiratiOn of twenty days after you were served this citation and petition, defaultjudgment may                    '
                                                                                                                                          ISSUED THIS
                                                                the clerk of the 298th District Court at 600
        taken against you. Your answer should be addressed   to
                                                                                                                                    3rd day of December, 2020
        Commerce Street, Ste. 101, Dallas,       75202.
                                           Texas
        Said Plain    being AMANDA PIZANA                                                                                                     FELICIA PirRE"
                                                                                                                                         ClerkDistrict Courts,
        Filed in said- Court 24th day of November, 2020 against
                                                                                                                                         DallasCounty, Texas
        DUSTIN "KROSS" KRANHWERER et a1

        For Suit, said suit being numbered DC—20- 17562, the nature of which demand'1s as follows:                             By: COURTNEY RUTLEDGE, Deputy
,       Suit on EMPLOYMNT etc. as shown on said petition, a copy of which accompanies this citation. If
        this citation is not served, it shall be          unexecuted.                                   ,,
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                                                                                                                                         Attorney for Plaintiff
                                                                                              \t                                              KEVIN H FULTON
        'WITNESS: FELICIA PITRE, Clerk of the District Courts ofDallas, County
         Given under my hand and the Seal of said Cou t ofce this 3rd day of
                                                                                    Taga:           BEL-ML:                               ‘
                                                                                                                                           2855 MANGUM RD
                                                                                                                                                                     _




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                                                                                                                                          HOUSTON TX 77092
         ATTEST: FELICIAPITRE,                   Di c Courts of Dallas, County, T-e-fitas
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                                                                          APP 36
                        Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                                                                                                       Page 39 of 40 PageID 46



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Case No.: 13020-17562

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Signed and sworn to by the said
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to certify which witness my hand and seal         of omce.
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                                                                                                                                    Notary Pubuc'                                                                                                County    .
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                                                                                                              APP 37
          Case 3:20-cv-03723-B Document 1-1 Filed 12/28/20                     Page 40 of 40 PageID 47
             UNITED STATES
             POSTAL SERVICE,"




   Date Produced; 1 2/07/2020

   THE MAIL GROUP INC -                 1   ICONFIRM DELIVERY INC:

   The following'Is the de‘liv'ery information for Certified MaiITM/RRE item number 9214 8901 0661 5400
   0157 1335 41. Our reCords indicate that this item was delivered on 12/05/2020 at 04. 59 p. m.                      in   DALLAS,
   TX 75201. The scanned image of the recipient information'Is provided below.
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   Signature of Recipient
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   Thank you for selecting the Postal Service for your mailing needs. Vlf you require additional assistance,
   please contact your local post office or Postal Service representative.
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    Sincerely,
    United States Postal Service

    The customer reference number shown below'Is not           or endorsed by the United States Postal
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    Service. lt'Is solely for customer use.                                                                   -




    The customer reference information shoWn below'Is not validated or endorsed by the
    United States Postal Service. lt'Is solely for customer use.


                                                   Reference ID. 92148901066154000157133541
                                                   DPRO- DC2- 17562- CR
                                                   CUMULUS MEDIA, INC.,
                                                   SERVING REGISTERED AGENT CT CORPORATION SYSTEM
                                                   1999 Bryan St Ste 900
                                                                       .




                                                   Dallas, TX 75201 -3140

                                                           APP 38
